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VIDA NUEVA PARTNERS, LP

UNITED STATES BANKRUPTCY COURT, NORTHERN DISTRICT OF CALIFORNIA

In Re CASE NO.: 18-10727 RLE 7
(Chapter 7)
ART DANIELS,
MOTTON FOR ORDER CONFIRMING
Debtor. THAT NO AUTOMATIC STAY IS IN
EFFECT
Date: November 5, 2018
Time: 11:00 a.m.
Location: 99 South E St., Santa Rosa, CA
Judge: Honorable Roger L. Efremsky

 

 

Movant VIDA NUEVA PARTNERS, LP (‘Movant’) files this Motion for Order

Confirming That No Automatic Stay Is In Effect (“the Motion’’) and shows as follows:

TI. RELIEF REQUESTED
Pursuant to 11 United States Code Section 362(b)(22), Movant hereby requests that the

Court grant this Motion and order that the automatic stay does not apply to Movant’s unlawful
detainer action, captioned Vida Nueva Partners, LP v. Art Daniels, Sonoma County Superior Court
Case No. MCV-246003, in which Movant obtained a Judgment for Possession of the residential
premises on October 3, 2018. Debtor filed his Petition on October 4, 2018, the day after Movant’s
Judgment for Possession was entered in the Superior Court case. Under this exception to the

automatic stay, Movant is free to take all actions available to Movant under applicable law to regain

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possession of the residential real property located at 717 Rohnert Park Expressway, Rohnert Park,
California 94928, Sonoma County (‘the Premises”).
I. STATEMENT OF FACTS

The subject Premises, located at Vida Nueva Apartments, is owned by Movant and managed
by Burbank Housing Management Corporation, who is Sonoma County’s largest non-profit
housing provider. (Declaration of Michelle V. Zyromski, § 2). Movant filed its Unlawful Detainer
Complaint against Debtor on August 23, 2018, after Debtor failed to comply with a 60-Day Notice
to Terminate Tenancy served in June. (/d.). Movant served the 60-Day Notice to Terminate
Tenancy because Defendant repeatedly was late with his monthly rent payment, after being given
warnings about the fact that these repeated late payments constituted a violation of his rental
agreement and could not continue. (/d. § 2, Exh. A).

In an attempt to delay the inevitable, Debtor first filed a Motion to Quash Service of
Summons, which was heard on September 6, 2018 and denied by the Honorable Patrick Broderick
sitting in Department 16 of the Sonoma County Superior Court. (Zyromski Decl., § 3, Exh. B).
Next, Debtor filed a Demurrer to the Complaint, which was heard on September 27 and denied by
Judge Broderick. (/d., Exh C). In his Order Overruling the Demurrer, Judge Broderick ordered
Defendant to file an Answer no later than Tuesday, October 2, 2018. (/d.).

Defendant failed to file his Answer by October 2. Consequently, on October 3, Movant
obtained a default Judgment for Possession of the Premises. (Zyromski Decl., § 4, Exh. D). A
Writ of Possession was issued on October 3 and is with the Sheriff’s Department for processing the
lockout. (/d.).

Debtor filed a Chapter 7 skeleton Petition on October 4, 2018. On October 19, 2018, this
case was dismissed by the bankruptcy court due to Debtor’s failure to provide missing documents.

Debtor filed another Chapter 7 skeleton Petition on October 22, 2018.

Tl. ARGUMENT
A, The Exception in 11 United States Code Section 362(b)(22) Applies Here
Under Local Bankruptcy Rule 4001-I(a), a Movant can request an Order from this Court

confirming that no stay is in effect. Movant desires such an Order here, given that the lockout is

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pending.

Under [1 United States Code Section 362(b)(22), the filing of a Chapter 7 bankruptcy
petition does not operate as a stay “of the continuation of any eviction, unlawful detainer action, or
similar proceeding by a lessor against a debtor involving residential property in which the debtor
resides as a tenant under a lease or rental agreement and with respect to which the lessor has
obtained before the date of the filing of the bankruptcy petition, a judgment for possession of such
property against the debtor”. Such is the exact situation here. Movant is the owner of the
residential real property where Debtor resides. Movant obtained its Judgment for possession of the
Premises the day before Debtor filed his petition. There is no stay in effect.

Ill. CONCLUSION

Debtor’s rental agreement for his apartment, in which he has no ownership interest, has
terminated and Movant obtained a Judgment for Possession of the premises before Debtor filed his
bankruptcy petition. Section 362(b)(22) applies here.

Debtor is simply trying to delay the inevitable. This Complaint was filed on August 23.
Debtor stalled first by filing a meritless Motion to Quash, then a Demurrer, and now a bankruptcy
petition.

Movant respectfully requests that the Court grant its Motion and order as follows:

1. Pursuant to 11 United States Code section 362(b)(22), no automatic stay is in effect.
The Movant may take any and all acts available to Movant under applicable law to regain
possession of the premises at 717 Rohnert Park Expressway, Rohnert Park, California 94928,
Sonoma County, that is owned by Movant, under Movant’s October 3, 2018 eviction Judgment for
Possession obtained in the Sonoma County Superior Court unlawful detainer case captioned Vida
Nueva Partners, LP y. Art Daniels, Sonoma County Superior Court Case No. MCV-246003.

2. In addition to possession of the premises, Movant VIDA NUEVA PARTNERS, LP
is granted such other and further relief, at law or in equity, to which Movant may be justly entitled.
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Dated: October 22, 2018

By:

 

MICHELLE V. ZYROMSKI
Attorneys for Movant
VIDA NUEVA PARTNERS, LP

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